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                          8                            UNITED STATES DISTRICT COURT
                          9                                 EASTERN DISTRICT OF CALIFORNIA
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                              ISHMAEL DELANEY,                    )               CASE NO.: 1:07-CV-1219 LJO DLB
                         12                                       )
                                                Plaintiff,        )               FINDINGS AND RECOMMENDATIONS
                         13                                       )               RECOMMENDING MOTION FOR ENTRY
                                    v.                            )               OF PARTIAL JUDGMENT BE DENIED.
                         14                                       )
                              JAMES E. TILTON, et al.,            )               (Doc. 71)
                         15                                       )
                                                Defendants.       )               OBJECTIONS, IF ANY, DUE IN FIFTEEN
                         16                                       )               (15) DAYS
                                                                  )
                         17   ____________________________________)
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                         19   I.     Procedural Background
                         20          Plaintiff Ishmael Delaney (“Plaintiff”), a state prisoner, has filed this civil rights action
                         21   seeking relief under 42 U.S.C. § 1983. On August 27, 2008 defendants Yates and Tilton filed a
                         22   Rule 12(b)(6) and unenumerated 12(b) motion to dismiss. (Doc. 55). On November 19, 2008, the
                         23   Magistrate Judge issued a Findings and Recommendation, recommending that the motion be granted
                         24   in part. The Findings and Recommendations were adopted in full by the District Judge by order
                         25   issued December 24, 2008, and the federal claims against Yates and Tilton were dismissed for
                         26   Plaintiff’s failure to exhaust administrative remedies. Defendants Yates and Tilton were ordered
                         27   dismissed from the action. (Docs. 64, 66).
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                          1          On January 8, 2009, Plaintiff filed a motion for entry of partial judgment as to defendants
                          2   Yates and Tilton (Doc. 71). Defendants Yates and Tilton filed an opposition on February 17, 2009,
                          3   and Plaintiff filed a reply on February 20, 2009. (Docs. 75, 78). Defendant Ramirez Jr. did not file a
                          4   response to the motion. This matter was heard on March 6, 2009 before the undersigned, with all
                          5   counsel appearing telephonically.
                          6   II.    Analysis
                          7          Rule 54(b) of the Federal Rule of Civil Procedure provides:
                          8          Judgment on Multiple Claims or Involving Multiple Parties. When an action
                                     presents more than one claim for relief--whether as a claim, counterclaim,
                          9          crossclaim, or third-party claim--or when multiple parties are involved, the court
                                     may direct entry of a final judgment as to one or more, but fewer than all, claims
                         10          or parties only if the court expressly determines that there is no just reason for
                                     delay. Otherwise, any order or other decision, however designated, that adjudicates
                         11          fewer than all the claims or the rights and liabilities of fewer than all the parties
                                     does not end the action as to any of the claims or parties and may be revised at any
                         12          time before the entry of a judgment adjudicating all the claims and all the parties'
                                     rights and liabilities.
                         13
                         14          The Supreme Court in Curtiss-Wright Corp. v. General Electric Co. held that in making a
                         15   determination on a Rule 54(b) motion for entry of judgment,
                         16          A district court must first determine that it is dealing with a “final judgment.” It
                                     must be a “judgment” in the sense that it is a decision on a cognizable claim for
                         17          relief, and it must be “final” in the sense that it is an ultimate disposition of an
                                     individual claim entered in the course of a multiple claims action.
                         18
                                     Once having found finality, the district court must go on to determine whether
                         19          there is any just reason for delay....[A] district court must take into account
                                     judicial administrative interests as well as the equities involved. Consideration
                         20          of the former is necessary to assure that application of the Rule effectively
                                     preserves the historic federal policy against piecemeal appeals. It was therefore
                         21          proper for the District Judge here to consider such factors as whether the claims
                                     under review were separable from the others remaining to be adjudicated and
                         22          whether the nature of the claims already determined was such that no appellate
                                     court would have to decide the same issues more than once even if there were
                         23          subsequent appeals.
                         24          Curtis Wright Corp. v. General Electric Co., 446 U.S. 1, 7-8; 100 S. Ct. 1460, 64 L. Ed. 2d
                         25   1 (1980) (internal quotations and citations omitted)
                         26          There exists “a long-settled and prudential policy against the scattershot disposition of
                         27   litigation,” and “entry of judgment under [Rule 54(b)] should not be indulged as a matter of routine
                         28   or as a magnanimous accommodation to lawyers or litigants.” Spiegel v. Trustees of Tufts

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                          1   College, 843 F.2d 38, 42 (9th Cir. 1988) (citations omitted). “Judgments under Rule 54(b) must be
                          2   reserved for the unusual case in which the costs and risks of multiplying the number of proceedings
                          3   and of overcrowding the appellate docket are outbalanced by the pressing needs of the litigants for
                          4   an early and separate judgment as to some claims or parties.” Morrison-Knudsen Co., Inc. v.
                          5   Archer, 655 F.2d 962, 965 (9th Cir. 1981).
                          6          Under the first step of the analysis, the Court treats the dismissal without prejudice of
                          7   defendants Yates and Tilton for failure to exhaust administrative remedies as final. Plaintiff “has
                          8   no way of curing the defect found by the court: there is no indication he could begin a new
                          9   administrative process in the prison.” See Butler v. Adams, 397 F.3d 1181, 1183 (9th Cir. 2005);
                         10   Griffin v. Arpaio, No. 06-16132, — F. 3d —, 2009 WL 539982 (9th Cir. March 5, 2009).
                         11          However, based on review of the parties’ written and oral submissions, the Court is unable
                         12   to make the determination that there is no just reason for delay that is required to enter judgment
                         13   under Rule 54(b). The parties, including Plaintiff, acknowledge that the newly added defendants
                         14   may bring a similar unenumerated 12(b) motion to dismiss the claims against them for non-
                         15   exhaustion, the very basis upon which defendants Yates and Tilton were dismissed. The Court is
                         16   concerned about the possibility of piecemeal litigation. Further, the Court is not persuaded that
                         17   there is any pressing need for an early or separate judgment regarding defendants Tilton and Yates.
                         18   Dismissal of some but not all defendants pursuant to an unenumerated 12(b) motion is not at all
                         19   uncommon, and Plaintiff has not set forth any reason that justifies the costs and risks of
                         20   multiplying the number of proceedings in this case.
                         21   III.   Conclusion and Recommendation
                         22          Based on the foregoing, the Court HEREBY RECOMMENDS that the motion for entry of
                         23   partial judgment, filed January 8, 2009, be DENIED.
                         24          These Findings and Recommendations will be submitted to the United States District Judge
                         25   assigned to the case, pursuant to the provisions of Title 28 U.S.C. § 636(b)(l). Within fifteen (15)
                         26   days after being served with these Findings and Recommendations, the parties may file written
                         27   objections with the court. The document should be captioned “Objections to Magistrate Judge’s
                         28   Findings and Recommendations.” The parties are advised that failure to file objections within the

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                          1   specified time may waive the right to appeal the District Court’s order. Martinez v. Ylst, 951 F.2d
                          2   1153 (9th Cir. 1991).
                          3
                          4          IT IS SO ORDERED.
                          5            Dated:    March 9, 2009                       /s/ Dennis L. Beck
                              3b142a                                           UNITED STATES MAGISTRATE JUDGE
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